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Attorneys for Larry Price, Jr.


                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MONTANA
                              BILLINGS DIVISION

UNITED STATES OF AMERICA,
            Plaintiff,                     CR-18-85-BLG-DLC

vs.
                                            RESPONSE TO ALIBI DEMAND
LARRY WAYNE PRICE, JR., A/K/A
L.J. PRICE,
            Defendant


        On August 6, 2018, the government made an Alibi Demand pursuant to

Federal Rule of Criminal Procedure 12.1. Defendant Price moves to dismiss this

demand.



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        Mr. Price is indicted for an alleged financial scheme lasting from October 6,

2016 to January 31, 2018. The only specific dates alleged concern electronic

monetary transfers which are of no relation to a specific physical presence of the

defendant. As part of an alibi demand, Rule 12.1(a) requires the government to

“state the time, date, and place of the alleged offense.” This requirement remains

unfulfilled.

        In accordance with the reasons stated above, Defendant Price moves that the

Alibi Demand be dismissed.

                Dated this 17th day of August, 2018.


                                         /s/ Thomas J. Bondurant, Jr.

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                                 CERTIFICATE OF SERVICE

            I hereby certify that on August 17, 2018, a copy of the foregoing was served

on the following persons by the following means:

     1, 2           CM/ECF                           Fax
                    Hand Delivery                    E-Mail
                    Mail                             Overnight Delivery Service


1.          Clerk, U.S. District Court

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